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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------X
LEXINGTON FURNITURE INDUSTRIES, INC.
d/b/a LEXINGTON HOME BRANDS,
                                    Plaintiff,                             19 CIVIL 6239 (PKC)

                 -against-                                                    JUDGMENT

THE LEXINGTON COMPANY, AB d/b/a THE
LEXINGTON CLOTHING COMPANY,
                                    Defendant.
------------------------------------------------------------X



      It is hereby ORDERED, ADJUDGED AND DECREED: That after a Jury

Trial before the Honorable P. Kevin Castel, United States District Judge, Plaintiff Lexington

Furniture Industries, Inc. d/b/a Lexington Home Brands has judgment in the amount of $1.00

for nominal damages, $1,641,963 for damages and $925,000 for punitive damages for a total

damage award of $2,566,964 as against the Defendant The Lexington Company, AB d/b/a

The Lexington Clothing Company.

DATED: New York, New York
       June 2, 2022
                                                                           RUBY J. KRAJICK
                                                                      _________________________
So Ordered:                                                                 Clerk of Court

                                                                BY:
________________________                                               _________________________
   U.S.D.J.                                                                   Deputy Clerk
